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                                      U.S. Department of Justice

                                      United States Attorney
                                      District of Vew for cel:
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                                                  970 Broad Sired, Szme 700   (973) 645-2700
                                                 Newark, New JdrSL’V 07102
LG/PL AOR
201 7R00907



                                                 January 13, 2020

VIA ELECTRONIC MAIL

Daniel Holzapfel, Esq.
Biancamano Law, LLC
Cranford Executive Plaza
312 North Avenue East, Suite 7
Cranford, New Jersey 07016

         Re: Plea Agreement with Talib Beeks

Dear Mr. Holzapfel:

       This letter sets forth the plea agreement between your client, Talib Seeks
(“Seeks”), and the United States Attorney for the District of New Jersey (“this
Office”). The government’s offer to enter into this plea agreement will expire on
January 24, 2020 if it is not accepted in writing by that date.

Chargç

       Conditioned on the understandings specified below, this Office will
accept a guilty plea from Beeks to a two-count Information, charging Seeks
with: (1) knowingly and intentionally conspiring with Dennis Jones and others
to distribute and possess with intent to distribute 5 kilograms or more of a
mixture and substance containing a detectable amount of cocaine, a Schedule
II controlled substance, contrary to 21 U.S.C. § 841(a)(1) and (b)(1)(A), in
violation of 21 U.S.C. § 846 (Count One); and (2) knowingly and intentionally
possessing with the intent to distribute 5 kilograms or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule II controlled
substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(l)(A) (Count Two). If
Beeks enters a guilty plea and is sentenced on these charges, and otherwise
fully complies with all of the terms of this agreement, this Office will not initiate
any further criminal charges against Beeks for possessing with the intent to
distribute or conspiring with others to distribute and possess with intent to
distribute a controlled dangerous substance on or about May 7, 2019.
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       However, in the event that a guilty plea in this matter is not entered for
any reason or the judgment of conviction entered as a result of this guilty plea
does not remain in full force and effect, Beeks agrees that any dismissed
charges and any other charges that are not time-barred by the applicable
statute of limitations on the date this agreement is signed by Seeks may be
commenced against him, notwithstanding the expiration of the limitations
period after Seeks signs the agreement.

Sentencing

      The violations of 21 U.S.C. § 846 and 841 charged in the Information to
which Seeks agrees to plead guilty each earn’ a statutory mandatory minimum
sentence of 10 years, a statutory maximum prison sentence of life, and a
statutory maximum fine equal to the greatest of: (1) $10,000,000, or (2) twice
the gross profits or other proceeds to Beeks.

     The sentence on each count of conviction may run consecutively. Fines
imposed by the sentencing judge may be subject to the payment of interest.

      The sentence to be imposed upon Beeks is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act,
18 U.S.C. § 3551-3742, and the sentencing judge’s consideration of the
United States Sentencing Guidelines. The United States Sentencing Guidelines
are advisory, not mandatory. The sentencing judge may impose any reasonable
sentence up to and including the statutory maximum term of imprisonment
and the maximum statutory fine. This Office cannot and does not make any
representation or promise as to what guideline range may be found by the
sentencing judge, or as to what sentence Seeks ultimately will receive.

       Further, in addition to imposing any other penalty on Beeks, the
sentencing judge (1) will order Beeks to pay an assessment of $100 (per count)
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) must order forfeiture pursuant to 21 U.S.C. § 853; (3) may deny
Beeks certain statutorily defined benefits, pursuant to 21 U.S.C. § 862 and
862a; and (4) pursuant to 21 U.S.C. § 841, must require Seeks to serve a term
of supervised release of at least 5 years, which will begin at the expiration of
any term of imprisonment imposed. Should Seeks be placed on a term of
supervised release and subsequently violate any of the conditions of supervised
release before the expiration of its term, Beeks may be sentenced to not more
than 5 years’ imprisonment in addition to any prison term previously imposed,
regardless of the statutory maximum term of imprisonment set forth above and
without credit for time previously served on post-release supervision, and may
be sentenced to an additional term of supervised release.
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       Additionally, if at the time of sentencing the United States is satisfied
that the five enumerated characteristics set forth in 18 U.S.C. § 3553(f)(1)-(5)
apply to Seeks and his commission of the charged offense, the United States
will make such a representation to the sentencing court and will recommend
that the sentencing court impose a sentence pursuant to the applicable
Sentencing Guidelines without regard to any statutory minimum sentence.

Rights of This Office Regarding Sentencing

       Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on Seeks by the sentencing judge, to correct any misstatements
relating to the sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information relevant to
sentencing, favorable or otherwise. In addition, this Office may inform the
sentencing judge and the United States Probation Office of: (1) this agreement;
and (2) the full nature and extent of Seeks’s activities and relevant conduct
with respect to this case.

Stipulations

       This Office and Seeks agree to stipulate at sentencing to the statements
set forth in the attached Schedule A, which hereby is made a part of this plea
agreement. This agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and may reject
any or all of the stipulations entered into by the parties. To the extent that the
parties do not stipulate to a particular fact or legal conclusion, each reserves
the right to argue the existence of and the effect of any such fact or conclusion
upon the sentence. Moreover, this agreement to stipulate on the part of this
Office is based on the information and evidence that this Office possesses as of
the date of this agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to be credible
and to be materially in conflict with any stipulation in the attached Schedule A,
this Office shall not be bound by any such stipulation. A determination that
any stipulation is not binding shall not release either this Office or Beeks from
any other portion of this agreement, including any other stipulation. If the
sentencing court rejects a stipulation, both parties reserve the right to argue on
appeal or at post-sentencing proceedings that the sentencing court was within
its discretion and authority to do so. These stipulations do not restrict this
Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.



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Waiver of Appeal and Post-Sentencing Rights

       As set forth in Schedule A, this Office and Beeks  waive   certainrights to
file an appeal, collateral attack, writ, or motion after sentencing, including but
not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C.
§ 2255.
Forfeiture

       As part of his acceptance of responsibility and pursuant to 21 U.s.c.
§ 853, Beeks agrees to forfeit to the United States all of his right, title, and
interest in any and all property constituting or derived from any proceeds the
defendant Seeks obtained, directly or indirectly, as the result of the violations
charged in the Information, and all of the defendant’s right, title, and interest
in any property in which the defendant has an interest that was used or
intended to be used, in any manner or part, to commit, and to facilitate the
commission of, the violations charged in the Information.

      Beeks further agrees to forfeit all of his right, title, and interest in the
property listed on the attached Schedule B, which was seized from Beeks on or
about May 7, 2019, and which the defendant admits has the requisite nexus to
the drug trafficking offense charged in the Information (the “Specific Property”)
and is therefore are forfeitable to the United States of America pursuant to 21
U.S.C. § 853.

       Seeks further consents to the administrative and/or civil judicial
forfeiture of the Specific Property pursuant to 21 U.S.C. § 881 and/or 18
U.S.C. § 98 1(a). Beeks agrees that he will not file a claim or a petition for
remission or mitigation in any forfeiture proceeding involving the Specific
Property and will not cause or assist anyone else in doing so. To the extent
Beeks has filed a claim or petition in any administrative or civil judicial
forfeiture proceeding involving the Specific Property, such claims or petitions
are hereby deemed withdrawn. Beeks further agrees to take all necessary steps
to pass clear title to the Specific Property to the United States, including, but
not limited to, the surrender of such property to the United States Marshals
Service and the execution of all necessary documentation.

       Beeks waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of
the forfeiture in the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, the defendant consents to the entry of an order of
forfeiture that, in the Office’s discretion, may be final as to the defendant prior
to the defendant’s sentencing. Beeks understands that criminal forfeiture
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pursuant to 21 U.S.C. § 853 is part of the sentence that may be imposed in
this case and waives any failure by the court to advise him of this pursuant to
Rule 1 l(b)(lflJ) of the Federal Rules of criminal Procedure at the guilty plea
proceeding. It is further understood that any forfeiture of Seeks’s assets shall
not be treated as satisfaction of any fine, restitution, cost of imprisonment, or
any other penalty the Court may impose upon him in addition to forfeiture.
Beeks waives any and all constitutional, statutory, and other challenges to the
forfeiture on any and all grounds, including that the forfeiture constitutes an
excessive fine or punishment under the Eighth Amendment.

       Beeks further agrees that no later than the date he enters his plea of
guilty he will provide a complete and accurate Financial Disclosure Statement
on the form provided by’ this Office. If Reeks fails to provide a complete and
accurate Financial Disclosure Statement by the date he enters his plea of
guilty, or if this Office determines that Beeks has intentionally failed to disclose
assets on his Financial Disclosure Statement, Beeks agrees that that failure
constitutes a material breach of this agreement, and this Office reserves the
right, regardless of any agreement or stipulation that might otherwise apply, to
oppose any downward adjustment for acceptance of responsibility pursuant to
U.S.S.G. § 3E1.1, and to seek leave of the Court to withdraw from this
agreement or seek other relief

Immigration Consequences

       Beeks understands that, if he is not a citizen of the United States, his
guilty plea to the charged offense will likely result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. Seeks
understands that the immigration consequences of this plea will be imposed in
a separate proceeding before the immigration authorities. Seeks wants and
agrees to plead guilty to the charged offense regardless of any immigration
consequences of this plea, even if this plea will cause his removal from the
United States. Beeks understands that he is bound by his guilty plea
regardless of any immigration consequences of the plea. Accordingly, Seeks
waives any and all challenges to his guilty plea and to his sentence based on
any immigration consequences, and agrees not to seek to withdraw his guilty
plea, or to file a direct appeal or any kind of collateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration consequences of
his guilty plea.

Other Provisions

       This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
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However, this Office will bring this agreement to the attention of other
prosecuting offices, if requested to do so.

      This agreement was reached without regard to any civil or administrative
matters that may he pending or commenced in the future against Beeks. This
agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue Service and Immigration and Customs Enforcement) or
any third party from initiating or prosecuting any civil or administrative
proceeding against Beeks.

      No provision of this agreement shall preclude Beeks from pursuing in an
appropriate forum, when permitted by law, an appeal, collateral attack, writ, or
motion claiming that Beeks received constitutionally ineffective assistance of
counsel

No Other Promises

       This agreement constitutes the plea agreement between Beeks and this
Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth inwriting and signed by the parties.

                                             Very truly yours,

                                             CRAIG CARPENITO
                                             Unr        Attorney



                                                         OULD
                                             Assistant U.S. Attorney

APPROVED:


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MEREftWTH JEWILLIAMS
Chief, OCDETF/ Narcotics




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       I have received this letter from my attorney, Daniel l-lolzapfel, Esq. I have
read it. My attorney and I have discussed it and all of its provisions, including
those addressing the charge, sentencing, stipulations, waiver, forfeiture, and
immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and
signed by the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:



                                              Date:
Talib Beeks



      I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.




Daniel Holzapfe5,flq.
                                              Date:   2//O/2Q20
                            /



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                        Plea Agreement With Talib Seeks

                                   Schedule A

       1.    This Office and Talib Beeks (“Seeks”) recognize that the United
States Sentencing Guidelines are not binding upon the Court. This Office and
Beeks nevertheless agree to the stipulations set forth herein, and agree that the
Court should sentence Beeks within the Guidelines range that results from the
total Guidelines offense level set forth below. This Office and Seeks further
agree that neither party will argue for the imposition of a sentence outside the
Guidelines range that results from the agreed total Guidelines offense level.

     2.    The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case.

Count One

      3.    The applicable guideline for Count One is U.S.S.G. § 2Dl.1.

      4.     This guideline carries a Base Offense Level of 30, because the
offense involved a total of more than 5 kilograms but less than 15 kilograms of
cocaine. U.S.S.G. § 2D1.1(c)(5).

       5.    Because Seeks maintained a premises for the purpose of
manufacturing or distributing a controlled substance, this results in a two-
level increase. U.S.S.G. § 2D1.l(b)(12).

      6.     Because Seeks played a minor role in the offense, this results in a
two-level decrease. U.S.S.G. § SB 1.2(b).

      7. Accordingly, the total offense level for Count One is 30.

Count Two

      7.    The applicable guideline for Count Two is U.S.S.G. § 2D1.1.

      8.     This guideline carries a Base Offense Level of 30, because the
offense involved a total of more than 5 kilograms but less than 15 kilograms of
cocaine. U.S.S.G. § 2D1. 1(c)(5).

       9.    Because Beeks maintained a premises for the purpose of
manufacturing or distributing a controlled substance, this results in a two
level increase. U.S.S.G. § 2D1.l(b)(12).

       10.   Because Seeks played a minor role in the offense, this results in a
two-level decrease. U.S.S.G. § 3B1.2(b).
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       11. Accordingly, the total offense level for Count Two is 30.

Grouping

      13.    Pursuant U.S.S.G. § 3D1.2(c), Counts One and Two group
together. The offense level for the group, pursuant to U.S.S.G. § 3D 1.3, is the
highest offense level of the counts in the group, or 30.

Additional Factors

      14.     Whether Beeks meets the criterion set forth in IJ.S.S.CT.
§ 5C 1 .2(a)( 1) and (a)(5) has not yet been determined. If applicable, whether
Beeks meets the criterion set forth in 18 U.S.C. § 3553(fl(1), as amended by the
Act has not yet been determined.

       15.    If the Court finds that Seeks meets the criteria set forth in 18
U.S.C. § 3553(f)(1)-(5), the Court may impose a sentence without regard to any
statutory mandatory-minimum sentence that might otherwise be applicable to
any controlled substance offense(s) charged in this case. If the Court
determines that Seeks does not meet the criteria set forth in 18 U.S.C. §
3553(f)(1)-(5), the Court must impose a sentence subject to any applicable
statutory mandatory-minimum sentence.

       16.   The United States Sentencing Commission has not yet amended
the corresponding provision of the United States Sentencing Guidelines      —




IJ.S.S.G. § 5C1.2 —   to conform that provision to the Statutory Safety-Valve. If
Reeks has more than 1 criminal history point, as determined under the
Guidelines before the application of subsection (b) of § 4A 1.3, he would not
satisfy U.S.S.G. § 5C1.2(a)(1) and would not qualify for the two level reduction
in offense level specified in U.S.S.G. § 2D1.1(b)(18).

       17.    As of the date of this letter, it is expected that Reeks will enter a
plea of guilty prior to the commencement of trial, will truthfully admit his
involvement in the offense and related conduct, and will not engage in conduct
that is inconsistent with such acceptance of responsibility. If all of these events
occur, and Seeks’s acceptance of responsibility continues through the date of
sentencing, a downward adjustment of 2 levels for acceptance of responsibility
will be appropriate. See U.S.S.G. § 3E1.1(a) and Application Note 3.

       18.    As of the date of this letter, it is expected that Beeks will assist
authorities in the investigation or prosecution of his own misconduct by timely
notifying authorities of his intention to enter a plea of guilty, thereby permitting
this Office to avoid preparing for trial and permitting this Office and the court
to allocate their resources efficiently. At sentencing, this Office will move for a
further 1-level reduction in Seeks’s offense level pursuant to U.S.S.G.
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§ SE 1.1(b) if the following conditions are met: (a) Beeks enters a plea pursuant
to this agreement, (b) this Office in its discretion determines that Beeks’s
acceptance of responsibility has continued through the date of sentencing and
Beeks therefore qualifies for a 2-level reduction for acceptance of responsibility
pursuant to U.S.S.G. § 3E1.1(a), and (c) Reeks’s offense level under the
Guidelines prior to the operation of § 3E1. 1(a) is 16 or greater.

        19.   If, at the time of sentencing, the Court determines that Beeks
meets the criteria set forth in the safety valve provisions in 18 U.S.C §
3553(ffll)—(5) and U.S.S.G § 5C1.2(a)(2)—(5), this Office will move for a two-level
downward variance pursuant to 18 U.S.C. § 3553(a). Doing so would give
Reeks the benefit now of any later conforming amendment to U.S.S.G. § 5C 1.2.
If this Office so moves, Beeks shall not seek a reduced sentence pursuant to 18
U.S.C. § 3582(c) in the event that after Beeks is sentenced in this case, the
Sentencing Commission amends U.S.S.G. § 5C1.2(a)(1) to conform it to the
current version of 18 U.S.C. § 3553(fl(1) and makes that amendment
retroactive.

      20.    In accordance with the above, the parties agree that:

              (a) if the Court finds, pursuant to U.S.S.G. § SC 1.2, that Beeks
meets the criteria currently in U.S.S.G § 5C1.2(a)(1)—(5), Reeks will be entitled
to a 2-level reduction in his offense level pursuant to U.S.S.G. § 2D1.1(b)(18),
with the result that the total Guidelines offense level applicable to Beeks will be
25;

              (b) if the Court finds pursuant to the Act that Beeks meets the
criteria set forth in 18 U.S.C. § 3553(fl(1)-(5) and U.SS.G § 5C1.2(a)(2)-(5), then
a two-level variance is appropriate, with the result that the total Guidelines
offense level applicable to Beeks will be 25; and

             (c) othenvise. the total Guidelines offense level applicable to Beeks
will be 27 (collectively, the “agreed total Guidelines offense level”), subject to
any applicable statutory mandatory minimum.

       21.   The parties agree not to seek or argue for any upward or downward
departure, adjustment or variance not set forth herein. The parties further
agree that a sentence within the Guidelines range that results from the agreed
total Guidelines offense level is reasonable.

      22.    Beeks knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack,
or any other writ or motion, including but not limited to an appeal under 18
U.S.C. § 3742, a motion under 28 U.S.C. § 2255, or a motion under 18 U.S.C.
§ 3582(c) or 18 U.S.C. § 3583(e), which challenges or seeks to modify the
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sentence imposed by the sentencing court if that sentence falls within or below
the Guidelines range that results from a total Guidelines offense level of 27,
subject to any applicable mandatory minimum. This Office will not file any
appeal, motion or writ which challenges the sentence imposed by the
sentencing court if that sentence falls within or above the Guidelines range
that results from a total Guidelines offense level of 25. The Government
reserves the right to appeal any sentence below any applicable mandatory
minimum. The parties reserve any right they may have under 18 U.S.C. § 3742
to appeal the sentencing court’s determination of the criminal history category.
The provisions of this paragraph are binding on the parties even if the court
employs a Guidelines analysis different from that stipulated to herein.
Furthermore, if the sentencing court accepts a stipulation, both parties waive
the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so. But nothing in this plea agreement shall
preclude Beeks from pursuing, in an appropriate forum and when permitted by
law, a collateral attack claiming that his guilty plea or sentence resulted from
constitutionally ineffective assistance of counsel.

      23.     Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.




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                                    Schedule B

    The following   properur
                               seized from Talib Seeks on or about May 7, 2019:

    1.    Approximately $14,361.00 in United States currency;

    2.    A white 2010 Mercedes Benz vehicle, bearing VIN#
          4JGBB8GB 1AA567785;

    3.    A stainless steel Rolex diamond-encrusted wristwatch;

    4.    A 14 karat white gold chain set with diamonds; and

    5.    A 14 karat white gold Allah pendant set with diamonds.




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